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Hon. James L. Robart

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

PAUL H. NOVASKY, a single person,
Plaintiff,
vs.

ADAM C, CLINTON, an individual, JACOB
W. BRISKEY, an individual, WILLIAM
COLLINS, an individual, DONNIE LOWE, an
individual, MARSHALL COOLIDGE, an

individual, THOMAS A. UMPOROWICZ, JR., |

an individual, JOHN DOES 1-10, individuals,
THE SEATTLE POLICE DEPARTMENT, and
THE CITY OF SEATTLE, a municipal
corporation,

Defendants.

 

 

 

 

No. = 2:16-CV-00614-JLR

STIPULATION AND ORDER OF
DISMISSAL WITH PREJUDICE

[CLERK’S ACTION REQUIRED]

STIPULATION

IT IS HEREBY STIPULATED between the plaintiff, Paul H. Novasky, and the defendants,

Adam C. Clinton, Jacob W. Briskey, William Collins, Donnie Lowe, Marshall Coolidge, Thomas

A. Umporowicz, Jr., the Seattle Police Department and City of Seattle, that this matter has been fully

STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

(2:16-CV-00614-JLR) - 1

Peter S. Holmes

Seattle City Attorney

701 Sth Avenue, Suite 2050
Seattle, WA 98104-7097
(206) 684-8200

 

 

 
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settled and compromised, and, may, therefore, be dismissed, as between the plaintiff and the

defendants, with prejudice and without costs or attorneys’ fees to either party.

DATED this 20 day of March, 2017

 

PETER 8. HOLMES
Seattle City Attorney

By: 48/ Cherie Getchell

Cherie Getchell, WSBA# 49768
Assistant City Attorneys

Attorney for Defendants Adam C.
Clinton, Jacob W. Briskey, William
Collins, Donnie Lowe, Marshall
Coolidge, Thomas A. Umporowicz, Jr.,
The Seattle Police Department and City
of Seattle

LAW OFFICE OF KENNETH M. BROWN, JR.

By: /s/Kenneth M. Brown, Jr.
Kenneth M. Brown, Jr., WSBA #3851
Attorney for Plaintiff

 

 

 

LAW OFFICE OF WALSH & LARRANAGA

By: . /s/Jacqueline K. Walsh
Jacqueline Walsh, WSBA #21651
Mark Larranaga, WSBA #22715
Attorneys for Plaintiff

 

 

 

 

STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE .

(2:16-CV-00614-JLR) - 2

Peter S. Holmes

Seattle City Attorney

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ORDER
THIS MATTER having come before this court upon the foregoing stipulation of the parties
hereto, and it appearing to the court that this matter has been fully settled and compromised as
between the plaintiff and the defendants, and the court being fully advised in the premises, now,
therefore, it is hereby,
ORDERED, ADJUDGED AND DECREED that this matter is hereby DISMISSED with

prejudice and without costs or attorneys’ fees.

a
DONE this 26 day of M\aecl. en 0 vx

ai ames L. Robart

 

Presented by: ©

PETER 8. HOLMES
Seattle City Attorney

By: 4s/ Cherie Getchell
Cherie Getchell, WSBA# 49768
Assistant City Attorneys
Attorney for Defendants Adam C. Clinton,
Jacob W. Briskey, William Collins,
Donnie Lowe, Marshall Coolidge,
Thomas A. Umporowicz, Jr.,
The Seattle Police Department and City of Seattle

 

Copy Received; Approved For Entry;
Notice of Presentation Waived:

LAW OFFICE OF KENNETH M. BROWN, JR.

By: _/s/ Kenneth M, Brown, Jr.
Kenneth M. Brown, Jr., WSBA #3851

Attorney for Plaintiff
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LAW OFFICE OF WALSH & LARRANAGA

By: _/s/ Jacqueline K. Walsh
Jacqueline Walsh, WSBA #21651
Mark Larranaga, WSBA #22715
Attorneys for Plaintiff

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